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                                                                         FILED            LODGED


                                                                         Aug 8 2022
                                                                         CLERK U.S. DISTRICT COURT
                                                                            DISTRICT OF ARIZONA




  July 19, 2022         July 19, 2022, 12:00 p.m.   Binance US




FBI forensic accountant Russell Tarabour




63,850.00 USDT (TetherUS) seized from Binance user ID 36412394 account in the name
of Shyam Batra.

2.83040268 BTC (Bitcoin) and 77.72361915 ETC (Ethereum Classic) seized from Binance user
ID 63916663 account in the name of Rohit Sharma.




     August 8, 2022



                                             Daniel H. Grossenbach, U.S. Postal Inspector
